            Case 1:19-cr-00366-LGS Document 153 Filed 01/13/21 Page 1 of 1
                                      Paul H. Schoeman                1177 Avenue of the Americas
                                      Partner                         New York, NY 10036
                                      T 212.715.9264                  T 212.715.9100
                                      F 212.715.8064                  F 212.715.8000
                                      PSchoeman@kramerlevin.com


January 13, 2021


Via ECF

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

          Re:    United States v. Stephen M. Calk, 19 Cr. 366 (LGS)

Dear Judge Schofield:

       We write to advise the Court that the parties have conferred with respect to trial
scheduling in light of the worsening pandemic and the motion to quash or modify the
government’s trial subpoenas filed on January 8, 2021, by four Chicago-based witnesses.

         The parties are in agreement that the trial can only go forward as scheduled on February
17, 2021 with the witnesses the government intends to call if certain witnesses are permitted to
testify by video. Given the defendant’s objection to video testimony by those witnesses and the
possibility that the pandemic-related obstacles to witness travel will be alleviated later in the
year, the parties jointly request the trial be adjourned, that the motion to quash or modify be held
in abeyance, and that the parties address trial scheduling with the Court on January 26, 2021 in
conjunction with the previously scheduled oral argument on a motion in limine.

       The parties further agree that the deadlines previously set by the Court with respect to the
disclosure of exhibit and witness lists shall remain in effect.

Respectfully submitted,

/s/ Paul H. Schoeman

Paul H. Schoeman
Darren A. LaVerne

cc:       All counsel (via ECF)




KRAMER LEVIN NAFTALIS & FRANKEL LLP                                   NEW YORK | SILICON VALLEY | PARIS
KL3 3324773.1
